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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    In re:                                                            Chapter 11

    WOODBRIDGE GROUP OF COMPANIES, LLC,                               Case No. 17-12560 (BLS)
    et al.,1
                                                                      (Jointly Administered)
                               Remaining Debtors.

    MICHAEL GOLDBERG, as Liquidating Trustee                          Adv. Proc. Case Nos. (SEE EXHIBIT 1)
    of the Woodbridge Liquidation Trust, successor in
    interest to the estates of WOODBRIDGE GROUP
    OF COMPANIES, LLC, et al.,

                                       Plaintiff,

    v.

    (SEE EXHIBIT 1 ATTACHED HERETO),

                                       Defendants.

                                             AFFIDAVIT OF SERVICE

STATE OF NEW YORK                     )
                                      ) ss
COUNTY OF NASSAU                      )

I, Alison Moodie, being duly sworn, depose and state:

1.           I am a Senior Case Manager with Epiq Class Action & Claims Solutions, Inc.,2 the claims

and noticing agent in the above-captioned proceeding. Our business address is 1985 Marcus

Avenue, Suite 200, Lake Success, New York 11042-1013.




1
         The Remaining Debtors and the last four digits of their respective federal tax identification number are as
follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
(0172). The Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks, California
91423.

2
             Epiq Class Action & Claims Solutions, Inc. acquired Garden City Group, LLC on June 15, 2018.
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2.       On June 22, 2020, at the direction of Pachulski Stang Ziehl & Jones LLP (“Pachulski

Stang”), and Klee, Tuchin, Bogdanoff & Stern LLP (“Klee Tuchin”), Counsel to the Woodbridge

Liquidation Trust, I caused true and correct copies of the following documents to be served by

facsimile on the parties identified on Exhibit A annexed hereto (Master Service List and Notice of

Appearance Parties with facsimile numbers), and by e-mail on the parties identified on Exhibit B

annexed hereto (Master Service List and Notice of Appearance Parties with e-mail addresses):3

                Notice of Agenda of Matters Scheduled for Telephonic Hearing on June 24,
                 2020 at 9:00 A.M. (Prevailing Eastern Time) Before the Honorable Brendan
                 L. Shannon (“Notice of Telephonic Hearing”) [Docket No. 4476]: and

                [Canceled] Amended Notice of Agenda of Matters Scheduled for Telephonic
                 Hearing on June 24, 2020 at 9:00 A.M. (Prevailing Eastern Time) Before the
                 Honorable Brendan L. Shannon (“Amended Notice of Telephonic Hearing”)
                 [Docket No. 4487].

3.       On June 22, 2020, also at the direction of Pachulski Stang and Klee Tuchin, I caused true

and correct copies of the Notice of Telephonic Hearing, and Amended Notice of Telephonic

Hearing to be served by e-mail on the parties identified on Exhibit C (Affected Defendants with

e-mail addresses), and by first class mail on the parties identified on Exhibit D (Affected

Defendants).


                                                            /s/ Alison Moodie
                                                            Alison Moodie
     Sworn to before me this
     24th day of June, 2020
     /s/ Cassandra Murray
     Notary Public, State of New York
     No. 01MU6220179
     Qualified in Queens County
     Commission Expires April 12, 2022




3
         These parties include a Notice of Appearance party who has consented to email service only pursuant to
         Del. Bankr. L.R. 2002-1(d) and 5005-4.
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               EXHIBIT B
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               EXHIBIT C
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                                            EXHIBIT 1
                                      List of Adversary Cases

Defendant(s)                                                                               Case No.
Cary Baskin, Mary Baskin                                                                  19-50297
Sal Di Mercurio 2003 Irrevocable Trust Dated 09/09/03, Sal Di Mercurio                    19-50298
Thomas Furman                                                                             19-50299
Stefan Kolosenko                                                                          19-50301
Paul & Colleen McIntyre Joint Tenants with Rights of Survivorship                         19-50302
Provident Trust Group, Custodian for the Benefit of Steven Mizel Roth IRA, Steven Mizel   19-50303
Paula Rinkovsky                                                                           19-50304
Alexander S. Aduna, Emma R. Aduna                                                         19-50307
Sylvan R. Jutte, Jeannette E. Jutte                                                       19-50308
Brian D. Korkus, Robin L. Korkus                                                          19-50309
Russell Bullis, Betsy Bullis                                                              19-50310
Mary M. Noyes, Gale E. Noyes                                                              19-50312
Darrell Sandison, Mattie Sandison                                                         19-50313
Delton Christman, Jean Christman                                                          19-50314
Michael Skurich, Joyce Skurich                                                            19-50315
Donald Wanner, Ladonna Wanner                                                             19-50316
Floyd G Davis, Lavonne J. Davis                                                           19-50317
George T. Iwahiro, Charlene M. Iwahiro                                                    19-50319
Thomas H. Haag, Joanne P. Haag                                                            19-50320
Toomas Heinmets, Pamela Heinmets                                                          19-50322
Richard E. Attig, Stephanie L. Attig                                                      19-50325
Jolene Bishop                                                                             19-50326
Jason Curtis                                                                              19-50327
Janet V. Dues                                                                             19-50328
Dena Falkenstein                                                                          19-50329
Judy Karen Goodin                                                                         19-50330
Dennis W. Hueth                                                                           19-50331
Christian Lester                                                                          19-50332
Joseph Lin                                                                                19-50334
Jane Marshall                                                                             19-50335
Laurence J. Nakasone                                                                      19-50337
Blaine Phillips                                                                           19-50338
George Edward Sargent                                                                     19-50340
Jeff Schuster                                                                             19-50341
Jennifer Tom                                                                              19-50342
Anita Bedoya, Mark Bedoya                                                                 19-50343
Anita Bedoya, Julian Duran                                                                19-50344
Ronald Cole                                                                               19-50346
Ronald Draper                                                                             19-50347
Stephen B. Moore                                                                          19-50350
Lawrence J. Paynter                                                                       19-50351
Nannette Tibbitts                                                                         19-50353
Provident Trust Group, Custodian for the Benefit of Claro Chen IRA, Claro Chen            19-50558
Mainstar Trust, Custodian for the Benefit of Marie Podkowinski, Marie Podkowinski         19-50559
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Defendant(s)                                                                                   Case No.
Provident Trust Group, Custodian for the Benefit of James R. Dunning IRA, James R.            19-50562
Dunning
Mainstar Trust, Custodian for the Benefit of Diana Sehl, Diana Sehl                           19-50564
Ascensus, LLC, Custodian for the Benefit of Donald L. Engle Jr. IRA, Donald L. Engle Jr.      19-50566
Mainstar Trust, Custodian for the Benefit of Lorie Gorman, Lorie Gorman                       19-50567
Mainstar Trust, Custodian for the Benefit of Daniel K. Gwinn, Daniel K. Gwinn                 19-50571
Mainstar Trust, Custodian for the Benefit of Stephen Weinberg, Stephen Weinberg               19-50573
Provident Trust Group, Custodian for the Benefit of Klenell Jensen Inherited IRA, Klenell     19-50575
Jensen
IRA Services Trust Company, Custodian for the Benefit of James C. Chang, James C Chang 19-50576
Mainstar Trust, Custodian for the Benefit of John Korbierecki, John Korbierecki               19-50578
IRA Services Trust Company, Custodian for the Benefit of Dwight L. Atherton IRA,              19-50581
Dwight L Atherton
Ascensus, LLC, Custodian for the Benefit of Deborah J. Murphy IRA, Deborah J. Murphy          19-50583
IRA Services Trust Company, Custodian for the Benefit of Jerry D. Ainsworth IRA, Jerry D 19-50585
Ainsworth
Ascensus, LLC, Custodian for the Benefit of Larry A. Norton IRA, Larry A. Norton              19-50586
IRA Services Trust Company, Custodian for the Benefit of Ivan Orr, Ivan Orr                   19-50588
Ascensus, LLC, Custodian for the Benefit of Peddada Family Trust ICA, Tarakam Peddada 19-50591
Ascensus, LLC, Custodian for the Benefit of Patricia Simmons IRA, Patricia Simmons            19-50594
IRA Services Trust Company, Custodian for the Benefit of Michael D. Loring IRA, Michael 19-50597
D Loring
Provident Trust Group, Custodian for the Benefit of Marie Walters-Gill IRA; Marie             19-50600
Walters-Gill IRA
Provident Trust Group, Custodian for the Benefit of Sheryl A. Whitlock IRA, Sheryl A.         19-50604
Whitlock
Provident Trust Group, Custodian for the Benefit of Catherine Williams IRA, Catherine         19-50606
Williams
Provident Trust Group, Custodian for the Benefit of Elizabeth A. Janovsky IRA, Elizabeth      19-50700
A. Janovsky
Paul Stehnach, Raymond Carioscia                                                              19-50702
Roy J. Ellenberg, in his capacity as Trustee of the Roy J. Ellenberg Trust Dated 07/19/03,    19-50733
Roy J. Ellenberg
Paul F. Happersett, in his capacity as Trustee of the Paul F. Happersett Revocable Living     19-50735
Trust Agreement Dated 07/15/98, Paul F. Happersett
Vicki L. Wickwire, in her capacity as Trustee of the Pauline A. Conley Irrevocable Trust,     19-50738
Pauline A. Conley
Michael Reszewski, in his capacity as Trustee of the Reszewski Revocable Living Trust         19-50739
Dated 11/18/14, Michael Reszewski
Anthony Arthur Meola Jr., in his capacity as Trustee of the Anthony Arthur Meola Jr. 2008 19-50741
Trust, Anthony Arthur Meola Jr.
Bonnie Gae Grieff, in her capacity as Trustee of the Bonnie Gae Grieff Family Trust dates     19-50743
12/04/06, Bonnie Gae Grieff
Terry B. Griffin, in his capacity as Trustee of the Griffin Family Trust, Terry B. Griffin    19-50744
Dale I Brinkerhoff, in his capacity as Trustee of the Dale I Brinkerhoff Family Trust, Dale I 19-50747
Brinkerhoff
Mainstar Trust, Custodian for the                                                             19-50749
Benefit of Robert J. Duenckel, Robert J Duenckel, Arlene R



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Defendant(s)                                                                                Case No.
Duenckel
Mainstar Trust, Custodian for the                                                          19-50750
Benefit of Timothy Hawley, Timothy Hawley
Mainstar Trust, Custodian for the                                                          19-50751
Benefit of Ronald R. Smith, Ronald R Smith
Irmgard Herrmann                                                                           19-50752
Eugene Oehler                                                                              19-50753
Jose Reta                                                                                  19-50755
Christ Temple Baptist Church                                                               19-50756
Thomas V. Rasmussen, in his                                                                19-50757
Capacity as Trustee of the Thomas V. & Georgia S.
Rasmussen Family Living Trust, Thomas V Rasmussen,
Georgia S Rasmussen
Provident Trust Group, Custodian for the Benefit of Gerald Davis IRA, Gerald Davis         19-50758
Provident Trust Group, Custodian for the Benefit of John B. Smith IRA, John B. Smith       19-50760
Douglas M. Brunner, in his capacity as Trustee of the Radiant Trust, Douglas M. Brunner    19-50762
RMG Property III LLC                                                                       19-50763
Rene C. Marsolan, Judy Marsolan                                                            19-50775
Raymond M. Chambers, Sarah E. Chambers                                                     19-50777
Robert W. Haskins, Neoma F. Haskins                                                        19-50779
Cornelius H. Vanvught                                                                      19-50782
Barbara B. Smith                                                                           19-50783
Joann Wells                                                                                19-50784
Valerie J. Galbasini                                                                       19-50785
Kenneth R. Carberry                                                                        19-50787
Billy Ray Chesnut                                                                          19-50788
Roderick P. Fries                                                                          19-50789
John M. Schroeder                                                                          19-50790
Del Wittler                                                                                19-50791
Mainstar Trust, Custodian for the Benefit of Sherry L. Collver, Sherry L. Collver          19-50794
Denis G. Birgenheir                                                                        19-50799
Geraldine M. Mallon                                                                        19-50800
Udo Salomon                                                                                19-50801
Dominic E. Abbadessa                                                                       19-50802
Katherine Vander Werff, in her capacity as Trustee of the Peter & Katherine Vander Werff   19-50804
Revocable Trust; Peter Vander Werff; Katherine Vander Werff
Mainstar Trust, Custodian for the Benefit of Jeanne Marie Spezia; Jeanne Marie Spezia      19-50806
IRA Services Trust Company, Custodian for the Benefit of Lynette Eddy IRA, Lynette         19-50808
Eddy
IRA Services Trust Company, Custodian for the Benefit of Andrew Chase Jr. IRA, Andrew      19-50809
Chase Jr.
IRA Services Trust Company, Custodian For The Benefit of Vicki Andren IRA, Vicki           19-50813
Andren
IRA Services Trust Company, Custodian For The Benefit of Earl Eddy IRA, Earl Eddy          19-50814
Gwendolyn Bissette                                                                         19-50815
Frances Fernandez                                                                          19-50816
Carlo Fisco                                                                                19-50817
Helen S. Fong                                                                              19-50818



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Defendant(s)                                                                                     Case No.
Marcella P. Best                                                                                19-50819
David E. Brown                                                                                  19-50820
Althea McCormick                                                                                19-50823
Kirk W Chubka                                                                                   19-50826
Provident Trust Group, Custodian for the Benefit of Angela Chatham IRA, Angela Chatham          19-50828
Mary Ellen Nuhn                                                                                 19-50829
John J. Begley                                                                                  19-50830
Ascensus, LLC d/b/a Provident Trust Group, Custodian for the Benefit of Sharon R. Ferry         19-50831
IRA, Sharon R. Ferry
Clayton Nakasone                                                                                19-50832
Barbara Lois Feldman                                                                            19-50833
Provident Trust Group, Custodian for the Benefit of Clifton Hartley IRA, Clifton Hartley        19-50834
Provident Trust Group, Custodian for the Benefit of Martha C. Maclean Roth IRA, Martha          19-50835
C. Maclean
Provident Trust Group, Custodian for the Benefit of Kerstin Rodriguez IRA, Kerstin              19-50837
Rodriguez
Rose M Lowery                                                                                   19-50838
Elizabeth Haskell                                                                               19-50839
Lawrence M Naumann                                                                              19-50840
Heidi M Pilant                                                                                  19-50841
Shirley A Rottmann                                                                              19-50843
Anna Santacroce                                                                                 19-50844
Logan Turrentine                                                                                19-50845
Karen Vlasak                                                                                    19-50846
Hart Placement Agency, Inc.                                                                     19-50847
Christopher J Watson                                                                            19-50848
Robert Elmer                                                                                    19-50850
Ronda Rogovin                                                                                   19-50852
Peter Greenberg                                                                                 19-50855
JetsuiteX, Inc.                                                                                 19-50856
Miranda Sandoval                                                                                19-50857
Volkswagen Group of America, Inc.                                                               19-50859
Mercedes-Benz International Services LTD                                                        19-50860
Ian Rubin Insurance Agency, Inc.                                                                19-50863
Camper & Nicholsons USA, Inc., Camper & Nicholsons International S.A.                           19-50864
Provident Trust Group, Custodian for the Benefit of Thomas A. Piazza IRA, Thomas A              19-50867
Piazza
I. Cleveland Huff, in his Capacity as Trustee of the Huff Irrevocable Trust Dated 12/10/12, I   19-50868
Cleveland Huff
Kathy Hagen, in her Capacity as Trustee to the Kathy A. Hagen Declaration of Trust Dated        19-50869
March 2, 1998, Kathy Hagen
Mary J. Happersett, in her Capacity as Trustee of the Mary J. Happersett Revocable Living       19-50870
Trust Agreement Dated 07/15/98, Mary J. Happersett
Judith L. Werner, in her Capacity as Trustee of the Werner Family Living Trust 03/02/00,        19-50871
Michael P. Werner, in his Capacity as Trustee of the Werner Family Living Trust 03/02/00,
Judith L. Werner, Michael P. Werner
JAL Poultry and Swine Farms LLC                                                                 19-50873
Gilchrist Metal Fabricating Co., Inc.                                                           19-50874



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Defendant(s)                                                                                  Case No.
Provident Trust Group, Custodian for the Benefit of John C. Miller IRA, John C. Miller       19-50875
Lavinia Mitrea, Daniel Mitrea                                                                19-50876
Lavenia Haskett, Troy Haskett                                                                19-50877
Anthony Abbadessa, Catherine Abbadessa                                                       19-50878
Edward F. Gabriel, Genevieve F. Gabriel                                                      19-50880
Donald Abney, Lee Ann Abney                                                                  19-50881
Janet G. Dahlen, Michael K. Dahlen                                                           19-50882
Billy McNeese, Sally McNeese                                                                 19-50883
John R. Burns, in his capacity as Trustee of the John R. Burns Trust, John R. Burns          19-50891
Ascensus, LLC, custodian for the benefit of James D. Helgeson IRA, James D. Helgeson,        19-50894
Allianz Life Insurance Company Of North America Contract #71186833, custodian for the
benefit of the Helgeson Family Trust, James Helgeson, in his capacity as Trustee of the
Helgeson Family Trust
IALT Enhanced Income Portfolio 1 LLC, IALT Portfolio Management, LLC, Devon Mason            19-50895
Kirk T. Griffith, Mainstar Trust, custodian for the benefit of Kirk Griffith TW003085        19-50899
Leiah Kitare                                                                                 19-50901
James D. Lawless, in his capacity as Trustee of the Lawless Trust, James D. Lawless, Doris   19-50902
Lawless
Martin Schneider                                                                             19-50903
John M. Peplowski, Carole L. Peplowski                                                       19-50904
Ferne Kornfeld; Barry Kornfeld                                                               19-50906
Greg Wylen Anderson; Paulette Anderson, aka Paula Anderson; Leenan, LLC; Balanced            19-50907
Financial, Inc.
Fred Randhahn; Karen Randhahn; Ascensus, LLC d/b/a Provident Trust Group, Custodian          19-50908
for the Benefit of Antelope Women's Center 401K PSP for the Benefit of Karen Randhahn;
Kronos Global Advisors, Inc.
Edward Boyack, Solely in his Capacity as Special Administrator of the Estate of William      19-50909
Perry, a/k/a Herbert Perry; Provident Trust Group, Custodian for the Benefit of Herbert
Perry
IRA Services Trust Company, Custodian for the Benefit of Harold L. Lustig IRA; Harold L.     19-50910
Lustig
Henri Jeanrenaud; Barbara Jeanrenaud                                                         19-50911
John D. Bigelow, Rebecca G. Bigelow                                                          19-50912
Phillip Ball (aka Larry Ball)                                                                19-50913
Michael Kandravi                                                                             19-50914
Maxwell Financial Group, Inc., Rosemary Malmstedt                                            19-50915
JRH Marketing, Inc.                                                                          19-50916
Kim Butler                                                                                   19-50917
Joseph Rubin Inc., a New York corporation, Joseph Rubin                                      19-50918
Mark Goldfinger                                                                              19-50920
All Mark Insurance Services, Inc., Cameron Johnson                                           19-50921
Chris Dantin Financial Services, LLC, Chris A. Dantin, Sr.                                   19-50922
Lighthouse Wealth Management Group, Inc.                                                     19-50923
Life Plan Advisors Inc.                                                                      19-50924
Bradford Solutions, LLC, Marcus Bray                                                         19-50925
David A. Scholl                                                                              19-50926
Danny Van Houten                                                                             19-50927
Christopher Longworth                                                                        19-50928



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Defendant(s)                                                                                   Case No.
Asset Management Consultants of NC, Inc., Carlton Scott Phillips                              19-50929
Annua Group LLC                                                                               19-50930
Retirement Services LLC                                                                       19-50931
Robert M. Linderman                                                                           19-50932
Old Security Financial Group Inc.                                                             19-50933
Prestige Insurance Services, LLC                                                              19-50934
Thomas Doherty                                                                                19-50936
Vlchetr Thong                                                                                 19-50937
Jerome Schwartz, Associated Insurance Group, Incorporated                                     19-50938
Ron Pontremoli, Carol A. Pontremoli, Ann C. Sramek                                            19-50939
Roger L. Owens, Jennifer M. Lepore                                                            19-50940
Edu. Wealth Advisors LLC, Roger Dobrovodsky                                                   19-50942
David Johnston                                                                                19-50943
Eric Little                                                                                   19-50944
Frontier Advisors Group LLC, David Nichols                                                    19-50945
Jonathan Froude                                                                               19-50946
John Fagan                                                                                    19-50947
Dayspring Advisors Group LLC, Ronnie Weller                                                   19-50948
DDI Advisory Group, LLC, Richard Dean                                                         19-50949
Harvey & Companies, Inc., Ronald J. Harvey                                                    19-50950
Ivy League College Planning Strategies, Inc., Michael Rappa                                   19-50951
James Lamont                                                                                  19-50952
Jessica J. Hotchkiss                                                                          19-50953
Gary L. Burke                                                                                 19-50954
Positions Benefits, LLC, Charles N. Nilosek                                                   19-50955
Mainstar Trust, Administrator and Custodian for the Benefit of Stacey Renee Maxted            19-50956
T2176604, Stacey Renee Maxted, Gerbera, LLC
Morgan J. Commodore                                                                           19-50957
Gregg W. Butler                                                                               19-50958
Patrick Gatbonton                                                                             19-50959
Integrity Plus Consulting, Inc., Sean P. Renninger                                            19-50960
Darin Baker                                                                                   19-50961
Jeffrey DeAngelis                                                                             19-50962
Peter Derienzo                                                                                19-50963
Gerard J. O'Neill                                                                             19-50964
James E. Campbell Jr. Inc. (d/b/a Campbell Financial Corp.), and James E. Campbell, Jr.       19-50965
Dime Strategies, Inc. and Ronald P. Diez                                                      19-50966
Talbert Wealth, Inc. and Steven Glick                                                         19-50967
Provident Trust Group, Custodian for the Benefit of Geneva W. Guilbeaux IRA; Diana            19-50968
Engelhardt, Solely in her Capacity as Executrix to the Estate of Geneva W. Guilbeaux;
Diana Engel Solely in her Capacity as Executrix to the Estate of Charles D. Guilbeaux
Provident Trust Group, Administrator And Custodian For The Benefit Of Brett                   19-50969
Pittsenbargar Solo K; Provident Trust Group, Administrator And Custodian For The Benefit
Of Hillarry A. Pittsenbargar Solo K; Provident Trust Group, Administrator And Custodian
For The Benefit Of Brett Pittsenbargar HSA; Brett Pittsenbargar; Hillarry A. Pittsenbargar,
AKA Hillary A. Pittsenbargar
RH Principled Investments, and Raymond Han                                                    19-50970
Thomas Masztak                                                                                19-50971


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Defendant(s)                                                                              Case No.
Jacob A. Weiss                                                                           19-50972
Harold Plain                                                                             19-50974
David Roitfarb                                                                           19-50975
Joseph W. Isaac                                                                          19-50976
Randy Robertson                                                                          19-50977
Joseph A. Loox                                                                           19-50978
Matthew Lorenc                                                                           19-50979
Donovan Knowles                                                                          19-50980
Gregory Jandt                                                                            19-50981
Albert Payne                                                                             19-50982
The Three Fourteen Company, Andres Pina                                                  19-50983
Fadi M. Hawary                                                                           19-50984
Gregory Neal Johnson                                                                     19-50985
Jacqueline Suarez                                                                        19-50986
Joseph D. Salvemini                                                                      19-50987
James A. Klohn & Assoc., P.A.                                                            19-50989
NAA Insurance Agency, Corp.                                                              19-50990
The Boylan Group, Inc., John Boylan                                                      19-50991
Shanoid A. Mays                                                                          19-50993
Safe Money Investing, Inc.                                                               19-50994
Queen B Services                                                                         19-50995
Reliant Group 360 Corp.                                                                  19-50996
Matthew Gilchrist                                                                        19-50997
John J. McNamara                                                                         19-50998
John E. McEnerney                                                                        19-50999
David Valencia, Valencia Financial Services, LLC                                         19-51000
Bette Tydings                                                                            19-51002
Ricki Dean Wiggs a/k/a Ricki Wiggs                                                       19-51003
Retirement Planning Solutions, LLC, Gordon Hannah                                        19-51004
Daniel P. Orfin                                                                          19-51005
Dennis Drake, Mid-Atlantic Brokers, Inc.                                                 19-51006
Dan Reisinger                                                                            19-51007
Richard Anthony Miller                                                                   19-51008
Bruce Moore                                                                              19-51009
Gold King International Inc. and Justin M. Matherne                                      19-51010
Harris Financial Management and John G. Harris                                           19-51011
Gaulan Financial LLC                                                                     19-51012
Gene H. Langenberg                                                                       19-51013
Yanitsha M. Feliciano                                                                    19-51015
Legacy Financial Network and Retirement Services, Inc. and Jeffrey Nimmow                19-51016
Ronaldo G. Espiritu                                                                      19-51017
William Deaton                                                                           19-51019
Security Financial, LLC, Ameritrust Advisors of SC, LLC                                  19-51020
Michael Robinson                                                                         19-51021
Searchlight Financial Advisors, LLC, Caroline Rakness                                    19-51022
Michael P. Litwin                                                                        19-51023
Provident Trust Group, Custodian for the Benefit of Thomas S. Cardosi IRA; Thomas S.     19-51024
Cardosi


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Defendant(s)                                                                                   Case No.
Michael A. Trujillo                                                                           19-51025
Theresa Sheridan                                                                              19-51026
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